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 Attorney or Party Name, Address, Telephone & FAX                            FOR COURT USE ONLY
 Numbers, State Bar Number & Email Address
Randolph R. Ramirez, Esq.
1613 Chelsea Road, No.186
San Marino, CA 91108
Tel: 626.765.5411
Fax: 626.784.0480
297928




      Debtor appearing without attorney
      Attorney for Debtor

                                           UNITED STATES BANKRUPTCY COURT
                                                                     LOS ANGELES
                                     CENTRAL DISTRICT OF CALIFORNIA -Name          DIVISION
                                                                          of DIVISION

 In re:                                                                      CASE NUMBER: 2:18-bk-19952- NB

 ROSE R RAMIREZ                                                              CHAPTER 13

                                                                                            DEBTOR’S NOTICE OF
                                                                                   (1) 11 U.S.C. SECTION 341(a) MEETING
                                                                                   OF CREDITORS, AND (2) HEARING ON
                                                                                  CONFIRMATION OF CHAPTER 13 PLAN,
                                                                                     WITH COPY OF CHAPTER 13 PLAN
                                                                             11 U.S.C. SECTION 341(a) MEETING OF CREDITORS:
                                                                             DATE: 10/05/2018
                                                                             TIME: 9:00 am
                                                                             PLAN CONFIRMATION HEARING:
                                                                             DATE: 10/25/2018
                                                                             TIME: 9:00 am
                                                                             DEADLINE FOR OBJECTIONS TO PLAN*:11/19/2018
                                                                                                              ___________
                                                                             (*Debtor(s) must give at least 21 days’ notice of response
                                                                             deadline and 35 days’ notice of confirmation hearing. This notice
                                                                             initially must be served at least 14 days before the date first set
                                                                             for the Section 341(a) meeting. FRBP 2002(a)(9)&(b)(3), 3015(f),
                                                              Debtor(s).     LBR 3015-1(b)(3), (d)(1) & (g)(1).)


NOTICE TO ALL CREDITORS AND OTHER INTERESTED PARTIES:
1. Debtor will seek approval of the attached Chapter 13 Plan (Plan) at the Plan confirmation hearing listed above.
2. Any proposed modification of secured claims in the Plan will be by separate motion using LBR Form F 4003-
   2.4.JR.LIEN.MOTION, F 4003-2.1.AVOID.LIEN.RP.MOTION or F 4003-2.2.AVOID.LIEN.PP.MOTION as applicable.
3. Debtor and Attorney for Debtor are required to appear at the 11 U.S.C. Section 341(a) meeting of creditors; and all
   other interested parties are invited, but not required, to attend.
4. You should read these papers carefully and discuss them with your attorney, if you have one. (If you do not have an
   attorney, you may wish to consult one.)


                 “Bankruptcy Code” and “11 U.S.C.” refer to the United States Bankruptcy Code, Title 11 of the United States Code.
     “FRBP” refers to the Federal Rules of Bankruptcy Procedure. “LBR” and “LBRs” refer to the Local Bankruptcy Rule(s) of this court.

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        Case 2:18-bk-19952-NB                   Doc 33 Filed 10/04/18 Entered 10/04/18 23:49:07                                      Desc
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SECTION 341(A) MEETING LOCATION:
        915 Wilshire Boulevard, 10th Floor, Room 1, Los Angeles, CA
        411 West Fourth Street, 1st Floor, Room 1-154, Santa Ana, CA
                                    st
        21041 Burbank Boulevard, 1 Floor, Suite 100, Woodland Hills, CA
                           st
       1415 State Street, 1 Floor, Room 148, Santa Barbara, CA
                                 st
       3801 University Avenue, 1 Floor, Room 101, Riverside, CA

PLAN CONFIRMATION HEARING LOCATION:
      255 East Temple Street, Los Angeles, CA                            411 West Fourth Street, Santa Ana, CA
      21041 Burbank Boulevard, Woodland Hills, CA                        1415 State Street, Santa Barbara, CA
      3420 Twelfth Street, Riverside, CA
    Courtroom: ________ Floor: ______

OBJECTIONS TO PLAN: If you object to the confirmation of the Plan, you must file your objection in writing with the
court and serve a copy of it on Debtor, Attorney for Debtor, and the Chapter 13 Trustee before the Plan objection deadline
stated above. Unless you timely file a written objection to the Plan and appear at the confirmation hearing, the court may
treat your failure to do so as a forfeiture or waiver of your right to object to the plan, and may approve the Plan.

APPEARANCES OF DEBTOR AND ATTORNEY FOR DEBTOR ARE REQUIRED AT BOTH THE SECTION
341(a) MEETING AND THE PLAN CONFIRMATION HEARING. If the Chapter 13 Trustee determines at the
Section 341(a) meeting that the case is ready for Plan confirmation, the Chapter 13 trustee may, but is not required to,
stipulate that Debtor and counsel are excused from appearance at the Plan confirmation hearing (if the assigned judge
permits the Chapter 13 Trustee to waive appearances). If the Chapter 13 Trustee determines at the Section 341(a)
meeting that the Plan is NOT ready for confirmation, the Chapter 13 Trustee may, but is not required to, continue the
Section 341(a) meeting and/or to request the court to continue the Plan confirmation hearing to a later date. Unexcused
failure by Debtor to appear at either the Section 341(a) meeting or the Plan confirmation hearing may result in
dismissal of the case. The dismissal order may include a prohibition on being a debtor in any bankruptcy case
for a period of 180 days pursuant to 11 U.S.C. § 109(g), or other remedies pursuant to applicable law.




Date: 09/10/2018
      _____________                                                  /s/ Randolph R Ramirez
                                                                     __________________________________________
                                                                     Signature of Debtor or Attorney for Debtor



                                                                    RANDOLPH    ROGER RAMIREZ, P.C.
                                                                    __________________________________________
                                                                    Print name of law firm (if applicable)




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                                       PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
 1613 Chelsea Road No.186, San Marino CA 91108


A true and correct copy of the foregoing document entitled: DEBTOR’S NOTICE OF (1) 11 U.S.C. SECTION 341(a)
MEETING OF CREDITORS, AND (2) HEARING ON CONFIRMATION OF CHAPTER 13 PLAN, WITH COPY OF
CHAPTER 13 PLAN will be served or was served (a) on the judge in chambers in the form and manner required by LBR
5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
09/10/2018
_______________,    I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:
Kathy A Dockery (TR) EFiling@LATrustee.com;
United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov;




                                                                                          Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
              09/10/2018
On (date) _______________,      I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.
See attached Service List




                                                                                          Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                          Service information continued on attached page
I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


09/10/2018       Victoria Ramirez                                                            /s/ Victoria Ramirez
 Date                      Printed Name                                                       Signature

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                                   In	re	Rose	R	Ramirez		
                                   Case	no.:	2:18-19952	
                                   	
                                   									Service	List	
	                                                       	
	                                                       	
Barclays	Bank		                                         	
PO	BOX	8803		                                           	
Wilmington,	DE	19899	                                   SYNCB/TJX	COS		
	                                                       PO	Box	965015		
Capital	One		                                           Orlando,	FL	32896-5036		
15000	Capital	One	Drive		                               	
Richmond,	VA	23238	 	                                   SYNCB/Walmart		
	                                                       PO	Box	965024		
Capital	One	Bank		                                      Orlando,	FL	32896-5036		
15000	Capital	One	Drive		                               	
Richmond,	VA	23238	 	                                   TBOM/ATLS/FORTIVA	THD		
	                                                       PO	BOX	10555		
Capitol	One	Bank	USA	NA		                               Atlanta,	GA	30310	     	
15000	Capital	One	Dr.		                                 	
Richmond,	VA	23238	                                     The	Bank	of	Missouri		
	                                                       PO	Box	105555		
Discover	Bank		                                         Atlanta,	GA	30348	     	
Discover	Products	Inc		                                 Wells	Fargo	Bank		
PO	Box	3025		                                           PO	Box	51166		
New	Albany,	OH	43054-3025	                              Los	Angeles,	CA	90051	 	
	
Discover	Card		
PO	BOX	15316		
Wilmington,	DE	19850	 	
	
Sams	Club		
PO	Box	965005		
Orlando,	FL	32896	      	
	
SYNCB/Care	Credit		
PO	Box	965036		
Orlando,	FL	32896-5036	
	
	
	
	
	
	
	
	
	
	
	
	



	
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                                                                             FOR COURT USE ONLY
 Randolph Ramirez
 1613 Chelsea Road, Ste. 186, San Marino, CA 91108
 6263212404
 6267840480
 297928
 rrr@4lawrrr.com




     Debtor appearing without attorney

     Attorney for Debtor



                                               UNITED STATES BANKRUPTCY COURT
                                          CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES

                                                                           CASE NUMBER: 2:18-bk-19952-NB
                                                                           CHAPTER 13


                                                                                                               CHAPTER 13 PLAN
                                                                                                                          Original
 List all names (including trade names) used by Debtor within the
                                                                                                                       1st Amened*
 last 8 years:
 Rose R Ramirez                                                                                                        2nd Amened*

                                                                                                                       3rd Amened*

                                                                                                                        __ Amened*
                                                                                                  *List below which sections have been changed:
                                                                                                              __________________
                                                                                                            [FRBP 3015(b); LBR 3015-1]


                                                                           11 U.S.C. SECTION 341(a) CREDITORS’ MEETING:


                                                                           DATE: 10/05/2018
                                                                           TIME: 10:00 AM
                                                                           ADDRESS: 915 Wilshire Blvd., 10th Floor,, Los Angeles, CA 90017


                                                            Debtor(s).     PLAN CONFIRMATION HEARING: [LBR 3015-1(d)]


                                                                           DATE: 10/25/2018
                                                                           TIME:09:30 AM
                                                                           ADDRESS:Crtrm 1545, 255 E Temple St., Los Angeles, CA 90012




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               “FRBP” refers to the Federal Rules of Bankruptcy Procedure. “LBR” and “LBRs” refer to the Local Bankruptcy Rule(s) of this court.




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Part 1: PRELIMINARY INFORMATION Main Document                                        Page 6 of 13
TO DEBTOR (THE TERM "DEBTOR" INCLUDES AND REFERS TO BOTH SPOUSES AS DEBTORS IN A JOINTBANKRUPTCY CASE): This Chapter
13 Plan (Plan) sets out options that may be appropriate in some cases, but the presence of an option in this Plan does not indicate that the option is
appropriate, or permissible, in your situation. A Plan that does not comply with local rules and judicial rulings may not be confirmable. You should read this
Plan carefully and discuss it with your attorney if you have one. If you do not have an attorney, you may wish to consult one.
TO ALL CREDITORS: This Plan is proposed by Debtor and your rights may be affected by this Plan. Your claim may be reduced, modified, or eliminated.
You should read this Plan carefully and discuss it with your attorney if you have one. If you do not have an attorney, you may wish to consult one.
If you oppose this Plan’s treatment of your claim or any provision of this Plan, you or your attorney must file a written objection to confirmation of the Plan at
least 14 days before the date set for the hearing on confirmation, unless otherwise ordered by the Bankruptcy Court. The Bankruptcy Court may confirm this
plan without further notice if no objection to confirmation is filed. See FRBP 3015. In addition, you must file a timely proof of claim in order to be paid under
any plan. See LBR 3015-1 and FRBP 3002(a).
Defaults will be cured using the interest rate set forth below in the Plan.
The following matters may be of particular importance to you:
Debtor must check one box on each line to state whether or not this Plan includes each of the following items. If an item is checked as “Not Included,” if both
boxes are checked, or neither box is checked, the item will be ineffective if set out later as a provision in this Plan.

      Valuation of property and avoidance of a lien on property of the bankruptcy estate, set out in Class 3.A. and/or Section IV (11 U.S.C. § 506(a)
1.1   and (d)):
           Included     Not included




1.2   Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set out in Section IV (11 U.S.C. § 522(f)):
          Included      Not included

1.3   Less than full payment of a domestic support obligation that has been assigned to a governmental unit, pursuant to 11 U.S.C. §1322(a)(4).
      This provision requires that payments in Part 2 Section I.A. be for a term of 60 months:
          Included      Not included


1.4   Other Nonstandard Plan provisions, set out in Section IV:
         Included     Not included

ALL CREDITORS ARE REQUIRED TO FILE A PROOF OF CLAIM IN ORDER TO HAVE AN ALLOWED CLAIM,EXCEPT AS PROVIDED IN FRBP
3002(a). Debtor, or Attorney for Debtor (if any), are solely responsible to object to a creditor's claim if Debtor deems it necessary. A Debtor whose Plan is
confirmed may be eligible thereafter to receive a discharge of debts to the extent specified in 11 U.S.C. § 1328.

Part 2: PLAN TERMS
Debtor proposes the following Plan terms and makes the following declarations:
Section I. PLAN PAYMENT AND LENGTH OF PLAN
      A.     Monthly Plan Payments will begin 30 days from the date thebankruptcy petition was filed. If the payment due date falls on the 29th, 30th, or
      31st day of the month, payment is due on the 1st day of the following month (LBR 3015-1(k)(1)(A)).
              Payments by Debtor of:
              $81.04 per month for months 1 through 36 totaling $2,917.55.
              $___ per month for months ___ through ___ totaling ___.
              $___ per month for months ___ through ___ totaling ___.
              For a total plan length of 36 months totaling $2,917.55.
      B.      Nonpriority unsecured claims.
              1. After Class 1 through Class 4 creditors are paid, allowed nonpriority unsecured claims that are not separately classified (Class 5) will be
              paid pro rata. If more than one option is checked below, the option providing the largest payment will be effective.Check all that apply.
                      a.      “Percentage” plan: 1.00% of the total amount of these claims, for an estimated payment of $214.00.

                      b.     “Residual” plan: The remaining funds after disbursements have been made to all other creditors provided for in this Plan,
                      estimated to pay $214.00 equivalent to 1.00% of these claims.
                      c.     “Pot” plan: The sum of $214.00 estimated to pay 1.00% of these claims.
              2. Minimum Plan payments. Regardless of the options checked above, payments on allowed nonpriority unsecured claims will be made in
              at least the following amounts: (a) the sum of $203,995.58 representing the value of non-exempt assets that would have to be paid
              to nonpriority unsecured creditors if the bankruptcy estate of Debtor were liquidated under Chapter 7 (11 U.S.C. § 1325(a)(3)) and (b)
              if Debtor has above-median income and otherwise subject to 11 U.S.C. § 1325(b), the sum of $2,233.91, representing all disposable income
              payable for 60 months.



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     C. Regular Plan payments to the Chapter 13 Trustee will Document                            13 manner:Check all that apply:
                                                                                  Pagein7theoffollowing
                                                             be made from future income
         Debtor will make Plan payments pursuant to a payroll deduction order.
     [X] Debtor will make Plan payments directly to the Chapter 13 Trustee.
         Other (specify method of payment): _____
     D. Income tax refunds. Debtor will provide the Chapter 13 Trustee with a copy of each income tax return filed during the Plan term within 14 days of
     filing the return and, unless the Plan provides 100% payment to nonpriority unsecured creditors (Class 5), will turn over to the Chapter 13 Trustee all
     income tax refunds in excess of $500 received during the Plan term.
     E. In the event that secured creditor(s) file a Notice of Postpetition Fees and Costs pursuant to FRBP 3002.1(c), the Chapter 13 Trustee is authorized,
     but not required, to commence paying those charges 90 days after that notice is filed, unless within that time the Debtor contests those charges by filing
     a motion to determine payment under FRBP 3002.1(e) or agrees to pay those charges by filing a motion to modify this Plan.
     F. Debtor must make preconfirmation adequate protection payments for any creditor that holds an allowed claim secured by personal property where
     such security interest is attributable to the purchase of such property and preconfirmation payments on leases of personal property whose allowed claim
     is impaired by the terms proposed in this Plan. Debtor must make preconfirmation adequate protection payments and preconfirmation lease payments
     to the Chapter 13 Trustee for the following creditor(s) in the following amounts.



     Creditor/Lessor Name                              Collateral Description                             Last 4 Digits of Account #                Amount

     Wells Fargo Bank, N.A.                    108 Prairie Drive San Dimas 91773                                     7672                          $1,709.03




     Each adequate protection payment or preconfirmation lease payment will accrue beginning the 30th day from the date of filing of the case. The Chapter
     13 Trustee must deduct the foregoing adequate protection payment(s) and/or preconfirmation lease payment from Debtor's Plan Payment and disburse
     the adequate protection payment or preconfirmation lease payment to the secured creditor(s) at the next available disbursement or as soon as
     practicable after the payment is received and posted to the Chapter 13 Trustee’s account. The Chapter 13 Trustee will collect his or her statutory fee on
     all receipts made for preconfirmation adequate protection payments or preconfirmation lease payments.
     G. Debtor must not incur debt greater than $1,000 without prior court approval unless the debt is incurred in the ordinary course of business pursuant to
     11 U.S.C. §1304(b) or for medical emergencies.
     H. The Chapter 13 Trustee is authorized to disburse funds after the date the Plan confirmation is announced in open court.
     I. Debtor must file timely all postpetition tax returns and pay timely allpostconfirmation tax liabilities directly to the appropriate taxing authorities.
     J. Debtor must pay all amounts required to be paid under a Domestic Support Obligation that first became payable after the date of the filing of the
     bankruptcy petition.
     K. If the Plan proposes to avoid a lien of a creditor, the Chapter 13 Trustee must not disburse any payments to that creditor on that lien until the Plan
     confirmation order is entered.
Section II. ORDER OF PAYMENT OF CLAIMS; CLASSIFICATION AND TREATMENT OF CLAIMS:
     Except as otherwise provided in this Plan or by court order, the Chapter 13 Trustee must disburse all available funds for the payment of claims as
     follows:
     A. ORDER OF PAYMENT OF CLAIMS:
             The order of priority of payment of claims will be:
             1st Domestic Support Obligations, if any; the Chapter 13 Trustee’s fee not exceeding the amount accrued on Plan Payments made to date;
             and Administrative expenses in this case until paid in full;
             2nd Subject to the 1st paragraph, pro rata to all secured claims and all priority unsecured claims except as otherwise provided in this Plan.
             3rd Non-priority unsecured creditors will be paid pro rata except as otherwise provided in this Plan. No payment will be made on nonpriority
             unsecured claims until all the above administrative, secured and priority claims have been paid in full unless otherwise provided in this Plan.




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      B. CLASSIFICATION AND TREATMENT OF CLAIMS:               Document    Page 8 of 13
                                                                                 CLASS 1

 ALLOWED UNSECURED CLAIMS ENTITLED TO PRIORITY UNDER 11 U.S.C. §507
 Class 1 claims will be paid pro rata in the order set forth in Section II.A. above.
 Unless otherwise ordered by the court, the claim amount stated on a proof of claim, and the dollar amount of any allowed administrative expense, controls
 over any contrary amount listed below.

                 CATEGORY                                  AMOUNT OF PRIORITY CLAIM                           INTEREST RATE, if any                   TOTAL PAYMENT

a. Administrative Expenses

(1) Chapter 13 trustee’s fee – estimated at 11% of all payments to be made to all classes through this Plan.

(2) Attorney’s Fees                                $2,500.00                                                                                    $2,500.00

(3) Chapter 7 Trustee’s Fees

(4) Other

(5) Other

b. Other Priority Claims

(1) Internal Revenue Service                       $0.00                                                0.00 %                                  $0.00

(2) Franchise Tax Board                            $0.00                                                0.00 %                                  $0.00

(3) Domestic Support Obligation                    $0.00                                                0.00 %                                  $0.00

(4) Other                                          $0.00                                                0.00 %                                  $0.00

Domestic Support Obligations that have been assigned to a governmental unit and are not to be paid in full in the Plan pursuant to 11 U.S.C. §1322(a)(4) (this
provision requires that payments in Part 2 Section I.A. be for a term of 60 months)
(specify creditor name):




                                                                                 CLASS 2

   CLAIMS SECURED SOLELY BY PROPERTY THAT IS DEBTOR’S PRINCIPAL RESIDENCE ON WHICH OBLIGATION MATURES AFTER THE FINAL
                                                  PLAN PAYMENT IS DUE
 Check One.

     None. If “None” is checked, the rest of this form for Class 2 need not be completed.

      Debtor will maintain and make the current contractual installment payments on the secured claims listed below, with any changes required by the
 applicable contract and noticed in conformity with any applicable rules. These payments will be disbursed either by the Chapter 13 Trustee or directly by
 Debtor, as specified below. Debtor will cure the prepetition arrearages, if any, on a listed claim through disbursements by the Chapter 13 Trustee, with
 interest, if any, at the rate stated.
 Unless otherwise ordered by the court, the arrearage amount stated on a proof of claim controls over any contrary amount listed below.

                                          AMOUNT OF                              ESTIMATED MONTHLY                  ESTIMATED
NAME OF   LAST 4 DIGITS OF                                      INTEREST                                                                 POST-PETITION MORTGAGE
                                         ARREARAGE, IF                               PAYMENT ON                       TOTAL
CREDITOR ACCOUNT NUMBER                                           RATE                                                                  PAYMENT DISBURSING AGENT
                                             ANY                                     ARREARAGE                      PAYMENTS


Wells Fargo                                                                                                                                 Trustee
            7672                        $437,466.56             2.50%         $250.00                            $100,000.00
Bank                                                                                                                                        Debtor




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           CLAIMS SECURED BY REAL OR PERSONAL PROPERTY WHICH ARE TO BE PAID IN FULL DURING THE TERM OF THIS PLAN.
 Check One.
    None. If “None” is checked, the rest of this form for Class 3A need not be completed.


  NAME OF        LAST 4 DIGITS OF ACCOUNT              CLAIM         SECURED CLAIM            INTEREST          ESTIMATED MONTHLY                 ESTIMATED TOTAL
  CREDITOR                NUMBER                       TOTAL            AMOUNT                  RATE                 PAYMENT                         PAYMENTS




                                                                             CLASS 3B

                                                    SECURED CLAIMS EXCLUDED FROM 11 U.S.C. §506
 Check One.

    None. If “None” is checked, the rest of this form for Class 3B need not be completed.


   NAME OF             LAST 4 DIGITS OF ACCOUNT                   CLAIM           INTEREST             ESTIMATED MONTHLY                       ESTIMATED TOTAL
   CREDITOR                     NUMBER                            TOTAL             RATE                    PAYMENT                               PAYMENTS




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       OTHER CLAIMS ON WHICH THE LAST PAYMENT ON A CLAIM IS DUE AFTER THE DATE ON WHICH THE FINAL PLAN PAYMENT IS DUE
 Check One.

     None. If “None” is checked, the rest of this form for Class 4 need not be completed.


                                                                                                  Cure of Default
NAME OF   LAST 4 DIGITS OF
CREDITOR ACCOUNT NUMBER AMOUNT OF                              INTEREST
                                                                        ESTIMATED MONTHLY                       ESTIMATED
                                                                                                                                      POST-PETITION MORTGAGE
                           ARREARAGE, IF                                PAYMENT ON                              TOTAL
                                                               RATE                                                                   PAYMENT DISBURSING AGENT
                           ANY                                          ARREARAGE                               PAYMENTS




                                                                                CLASS 5

                                                               NON-PRIORITY UNSECURED CLAIMS
 a. Allowed nonpriority unsecured claims not separately classified must be paid pursuant to Section I.B. above.
 b. Separate classification:
 Check all that apply if Debtor poses any separate classification of nonpriority unsecured claims.
     None. If “None” is checked, the rest of this form for Class 5 need not be completed.


     NAME OF                   LAST 4 DIGITS OF ACCOUNT
                                                                        INTEREST RATE ESTIMATED MONTHLY PAYMENT ESTIMATED TOTAL PAYMENTS
     CREDITOR                           NUMBER




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                                                                   SURRENDER OF COLLATERAL
 Check One.
     None. If “None” is checked, the rest of this form for Class 6 need not be completed.

Creditor Name:                                                                                  Description:




                                                                                CLASS 7

                                                     EXECUTORY CONTRACTS AND UNEXPIRED LEASES
 Check One.

     None. If “None” is checked, the rest of this form for Class 7 need not be completed.
 Creditor Name:
 Description:
     Rejected      Assumed cure amount (if any):
 Payments to be cured within ___ months of filing the bankruptcy petition. All cure payments will be made through the Chapter 13 Trustee.

Section III. PLAN SUMMARY




                                            CLASS 1a                                                       $2,500.00

                                            CLASS 1b                                                       $0.00

                                            CLASS 1c                                                       $0.00

                                            CLASS 2                                                        $100,000.00

                                            CLASS 3A                                                       $0.00

                                            CLASS 3B                                                       $0.00

                                            CLASS 4                                                        $0.00

                                            CLASS 5                                                        $214.00

                                            CLASS 6                                                        $0.00

                                            CLASS 7                                                        $0.00

                                            SUB-TOTAL                                                      $102,714.00

                                            CHAPTER 13 TRUSTEE'S FEE
                                                                                                           $203.55
                                            (Estimated 11% unless advised otherwise)

                                            TOTAL PAYMENT                                                  $2,917.55



                     This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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Section IV. NON-STANDARD PLAN PROVISIONS                                   Main Document    Page 12 of 13
     None . If “None” is checked, the rest of Section IV need not be completed.
        WARNING: Pursuant to FRBP 3015(c), Debtor must set forth all nonstandard Plan provisions in this Plan in this separate Section IV of this Plan and
        must check off the “Included” box or boxes in Paragraphs 1.1, 1.2, 1.3 and/or 1.4 of Part 1 of this Plan.
        A nonstandard Plan provision means any Plan provision not otherwise included in this mandatory Chapter 13 Plan form of the United States Bankruptcy
        Court for the Central District of California, or any Plan provision deviating from this form.
        A nonstandard Plan provision is ineffective unless: (1) Debtor states it in this separate Section IV and; (2) Debtor checks off the applicable “Included”
        box in Paragraph 1.1., 1.2, 1.3 or 1.4. of Part 1 of this Plan.
        The nonstandard Plan provisions seeking modification of liens and security interests address only those liens and security interests known
        to Debtor, and known to be subject to avoidance, and all rights are reserved as to any matters not currently known to Debtor.
        A. Debtor’s Intent to File Separate Motion to Value Property Subject to Creditor’s Lien or Avoid Creditor’s Lien [11 U.S.C. § 506(a) and (d)]]
                   Debtor will file a Motion to value real or personal property of the bankruptcy estate listed below and/or to avoid a lien pursuant to 11 U.S.C
                   §506(a) and §506(d).
                   Name of Creditor Lienholder/Servicer: __________
                   Description of lien and collateral (e.g., 2nd lien on 123 Main St.): __________
                   Name of Creditor Lienholder/Servicer: __________
                   Description of lien and collateral (e.g., 2nd lien on 123 Main St.):                            __________
        B. Debtor’s Intent to File Separate Motion to Avoid Creditor’s Judicial Lien or Nonpossessory, Nonpurchase Security Interest [11 U.S.C. § 522(f)]
                   Debtor will file a Motion to avoid a judicial lien or nonpossessory, nonpurchase-money security interest, on real or personal property of the
                   bankruptcy estate listed below pursuant to 11 U.S.C § 522(f). If the court enters an order avoiding a lien under 11 U.S.C. § 522(f), the Chapter
                   13 Trustee will not pay any claim filed based on that lien as a secured claim.
                   Name of Creditor Lienholder/Servicer: __________
                   Description of lien and collateral (e.g., 2nd lien on 123 Main St.): __________
                   Name of Creditor Lienholder/Servicer: __________
                   Description of lien and collateral (e.g., 2nd lien on 123 Main St.):                            __________
        C. Debtor’s Request in this Plan to Modify Creditor’s Secured Claim and Lien
        Debtor proposes to modify the following secured claims and liens in this Plan without a separate motion or adversary proceeding - this Plan will serve as
        the motion to value the collateral and/or avoid the liens as proposed below. To use this option, Debtor must serve this Plan, LBR Form F 3015-
        1.02.NOTICE.341.PLAN.CONFRM and all related exhibits as instructed in that form.

                                               DEBTOR’S REQUEST TO MODIFY CREDITOR’S SECURED CLAIM AND LIEN
 TO CREDITOR LIENHOLDER/SERVICER _____ WELLS FARGO BANK, N.A. ____
 [X] Real property collateral (street address and/or legal description or document recording number, including countyof recording):
 ____108 Prairie Drive, San Dimas, CA 91773______________
 (attachpage with legal description of property or document recording number as appropriate).
       Other collateral
 __________________
 (add description such as judgment date, date and place of lien recording, book and page number):
     11 U.S.C. § 522(f) – Debtor seeks avoidance of your lien(s) on theabove described collateral effective immediately upon issuance of the
 order confirming this Plan.
    11 U.S.C. § 506(a) and (d) – Debtor seeks avoidance of your lien(s) on theabove described collateral that will be effective upon the earliest to
 occur of either payment of the underlying debt determined under nonbankruptcy law or one of the following:
 (check all that apply and see LBR Form F 4003-2.4.ORDER.AFTERDISCH):
      (1) discharge under 11 U.S.C. § 1328, or

      (2) if the value of the “amount of remaining secured claim” listed below is “$-0-“ then upon completion of all Plan payments.
 Value of collateral: ........................................................................................................... $____
 Liens reducing equity (to which subject lien can attach):
 $ ____ + $____ + $____ = ($____)
 Exemption (only applicable for lien avoidance under 11 U.S.C. § 522(f)): …………….. ($____)
 Wherefore, Debtor requests that this court issue an order granting the foregoing property valuation and/or lien avoidance of the above-listed
 creditor on the above-described collateral in the form Attachment B, C and/or D to this Plan, as applicable. (Debtor must use and attach a
 separate Attachment B, C and/or D which are also mandatory court forms for modification of each secured claim and lien.)
 Amount of remaining secured claim (negative results should be listed as $-0-): ............. $____
 Note: See other parts of this Plan for the proposed treatment of any remaining secured claim (generally Class 3).


                             This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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      D. Other Non-Slandaid Plan Piovisions {use attachment, if necessaiyi:
V. REVESTING OF PROPERTY

      Property of tlie bankruptcy estate will not revest in Debtor until a discharge Is granted or the case Is dismissed or closed withoutdischarge. Revesting
      will be subject to ail liens and encumbrances in existence when the case was filed, except those liens avoided by court order or extinguished by
      operation of law. in the event the case is converted to a case under Chapter 7,11, or 12 of the Bankniptcy Code, the property of the estate will vest in
      accordance with applicable law. After conflnnatlon of this Plan, the Chapter 13 Trustee will not have any further authority or fiduciary duty regarding
      use, sale, or reflnance of property of the estate except to respond to any motion for proposed use, sate, or refinance as required by the LBRs. Prior to
      any discharge or dismissal. Debtor must seek approval of the court to purchase, sell, or refinance real property.
By filing this document, the Attomey for Debtor, or Debtor if not represented by an attorney, also ceifify(es) that the wording and order of the proviskins in this
Plan are idenlical to those contained in the Central ninWrr nt CgHfomla Cfiapter 13 Plan other fhan any nonstandard Plan provisions included in Section iV.




                                                     Debtor 2




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